
PER CURIAM:
h Denied. Relator’s guilty plea waived all non-jurisdictional defects in the proceed-*341tags leading to her conviction. State v. Crosby, 338 So.2d 584, 586 (La. 1976). Relator also fails to show she received ineffective assistance of counsel under the standard of Strickland v. Washington, 466 U.S. 668, 104 S.Ct. 2052, 80 L.Ed.2d 674 (1984). As to her remaining claims, relator fails to satisfy her post-conviction burden of proof. La.C.Cr.P. art. 930.2.
Relator has now fully litigated her application for post-conviction relief in state court. Similar to federal habeas relief, see 28 U.S.C. § 2244, Louisiana post-conviction procedure envisions the filing of a second or successive application only under the narrow circumstances provided in La.C.Cr.P. art. 930.4 and within the limitations period as set out in La.C.Cr.P. art. 930.8. Notably, the Legislature in 2013 La. Acts 251 amended that article to make the procedural bars against successive filings mandatory. Relator’s claims have now been fully litigated in accord with La. C.Cr.P. art. 930.6, and this denial is final. Hereafter, unless she can show that one of the narrow exceptions authorizing the filing of a successive 12application applies, relator has exhausted her right to state collateral review. The district court is ordered to record a minute entry consistent with this per curiam.
